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1    CHRISTOPHER HAYDN-MYER, Bar #176333
     970 Reserve Drive, Suite 153
2    Roseville, California 95678
     Telephone: (916) 622-1703
3    email: chrishaydn@sbcglobal.net
4
     Attorney for Defendant
5    JEREMY MICHAEL HEAD
6
7                                  IN THE UNITED STATES DISTRICT COURT
8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                       )   CR. NO. 2:08-CR-00093 FCD
10                                                   )
                           Plaintiff,                )   STIPULATION AND ORDER
11                                                   )   MODIFYING JEREMY MICHAEL HEAD’S
            v.                                       )   CONDITIONS OF SUPERVISED RELEASE
12                                                   )
     JEREMY MICHAEL HEAD,                            )
13                                                   )
                           Defendant.                )
14                                                   )
     _______________________________                 )
15                                                   )
                                                     )
16
            The United States of America, through Assistant U.S. Attorney Ellen V. Endrizzi, and defendant
17
     Jeremy Michael Head, through his counsel Chris Haydn-Myer, hereby stipulate that as to defendant Jeremy
18
     Michael Head’s special conditions of release, Special Condition 9 be amended as reflected in the attached,
19
     “AMENDED SPECIAL CONDITIONS OF RELEASE.”
20
21
     IT IS SO STIPULATED.
22
     DATED: May 6, 2010                          BENJAMIN B. WAGNER
23                                               United States Attorney
24                                                /s/ Ellen V. Endrizzi
                                                 ELLEN V. ENDRIZZI
25                                               Assistant U.S. Attorney
26   DATED: May 6, 2010
27                                                /s/ Christopher Haydn-Myer
                                                 CHRISTOPHER HAYDN-MYER
28                                               Attorney for Defendant Jeremy Michael Head
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1
                                                       ORDER
2
            GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY ORDERED
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     that as to defendant Jeremy Michael Head’s special conditions of release, Special Condition 9 is amended
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     as reflected in the attached AMENDED SPECIAL CONDITIONS OF RELEASE.
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            IT IS FURTHER ORDERED that the AMENDED SPECIAL CONDITIONS OF RELEASE for
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     defendant Jeremy Michael Head shall be filed as part of the record in this case and the amended special
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     conditions of release supersedes any and all special conditions of release previously ordered by the Court.
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     IT IS SO ORDERED.
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     DATED: May 7, 2010.
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1                          AMENDED SPECIAL CONDITIONS OF RELEASE
2                                                                RE:     Jeremy Michael Head
                                                                         Doc. No. 08-CR-0093 FCD
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     1.    You shall report to and comply with the rules and regulations of the Pretrial Services Agency;
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     2.    You shall report in person to the Pretrial Services Agency on the first working day following your
5          release from custody;
6    3.    You are to reside at a location approved by the pretrial services officer and not move or absent yourself
           from this residence without the prior approval of the pretrial services officer;
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     4.    Your travel is restricted to the Central and Eastern District of California without the prior consent of
8          the pretrial services officer;
9    5.    You shall not possess a firearm, destructive device, or other dangerous weapon; additionally, you shall
           provide written proof of divestment of all firearms currently under your control;
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     6.    You shall seek and/or maintain employment as approved by Pretrial Services and provide proof of the
11         same as requested by your pretrial services officer;
12   7.    You shall report any contact with law enforcement to your pretrial services officer within 24 hours;
13   8.    You shall not apply for any travel documents during the pendency of this case;
14   9.    You shall not have contact with the co-defendants in this case, for the exception of family
           members, unless in the presence of defense counsel;
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     10.   You shall refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
16         substance without a prescription by a licensed medical practitioner; and you shall notify Pretrial
           Services immediately of any prescribed medications. However, medical marijuana, prescribed or not,
17         may not be used;
18   11.   You shall submit to drug or alcohol testing as approved by the Pretrial Services Officer.
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     Date: May 6, 2010
20   (Amended Condition No. 9)
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